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                           UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


         IN RE: JOHNSON & JOHNSON
         TALCUM POWDER PRODUCTS               MDL No. 16-2738 (MAS) (RLS)
         MARKETING, SALES
         PRACTICES, AND PRODUCTS
         LIABILITY LITIGATION

        THIS DOCUMENT RELATES TO ALL CASES

     PLAINTIFFS’ STEERING COMMITTEE’S RESPONSE IN OPPOSITION
     TO DEFENDANTS JOHNSON & JOHNSON AND LLT MANAGEMENT,
         LLC’S OBJECTIONS TO SPECIAL MASTER ORDER NO. 25
         (ADDRESSING THREE MOTIONS TO QUASH AND/OR FOR
                  PROTECTIVE ORDER) (ECF NO. 32926)
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                                    INTRODUCTION
          Unsurprisingly, Defendants seek to overturn the Special Master’s Order

    simply because they do not like the outcome. Defendants raise no new arguments

    and provide no legitimate basis for asserting that the Special Master’s decision is

    unsupported or incorrect. Instead, Defendants spout the same speculative conjecture

    that they relied on to support their position in the initial letter briefing and oral

    arguments. Defendants fail to articulate any good cause or substantial need to

    warrant the disclosure of the irrelevant, disproportionate, and protected information

    its subpoenas seek to discover. As such, the Special Master’s Order quashing the

    Defendants’ subpoenas should be upheld.

                                     BACKGROUND

          On May 20, 2024, defendants Johnson & Johnson and LLT Management LLC

    issued a subpoena to non-party the Beasley Allen Law Firm (“Beasley Allen”) for

    the production of (1) all documents, communications, or agreements related to the

    existence and details of third-party litigation funding arrangements, (2) all

    documents, communications, or agreements “concerning the authority to settle or

    otherwise resolve the Litigation and/or claims that have or may be asserted therein,”

    (3) all communications between Beasley Allen and any non-party related to the

    proposed plan of reorganization announced by defendants on May 1, 2024, and the

    solicitation of personal injury Plaintiffs regarding same, and (4) all communications


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    between Beasley Allen and any non-party related to settlement offers made by

    defendants in connection with the talc litigation. Beasley Allen Subpoena, ECF No.

    32201.

          Three days later, defendants served a nearly identical subpoena on non-party

    the Smith Law Firm (“Smith Law”), seeking the production of (1) all documents,

    communications, or agreements related to the existence and details of third-party

    litigation funding arrangements, (2) all documents, communications, or agreements

    “concerning the authority to settle or otherwise resolve the Litigation and/or claims

    that have or may be asserted therein,” (3) all communications between Smith Law

    and any non-party related to the proposed plan of reorganization announced by

    defendants on May 1, 2024, and the solicitation of personal injury Plaintiffs

    regarding same, and (4) all communications between Smith Law and any non-party

    related to settlement offers made by defendants in connection with the talc litigation.

    Smith Law Subpoena, ECF No. 32226.

          Defendants subsequently served another subpoena on non-party Ellington

    Management Group (“Ellington”), demanding the production of (1) all

    communications and agreements between Ellington and any law firm related to the

    litigation, (2) all communications, agreements, and documents reflecting any

    funding provided to law firms in this litigation, including which law firms received

    funding, when funding began, and the terms of funding, (3) all communications


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    between Ellington and any law firm concerning any of defendants’ proposed

    resolutions from 2020 through the present, (4) all communications between

    Ellington and any law firm related to the proposed plan of reorganization announced

    by defendants on May 1, 2024, and the solicitation of personal injury Plaintiffs

    regarding same, (5) all communications between Ellington and Beasley Allen, (6)

    all documents, communications, and agreements related to any funding Ellington

    provided to Beasley Allen, (7) all communications between Ellington and Smith

    Law, and (8) all documents, communications, and agreements related to any funding

    Ellington provided to Smith Law. See Ellington Subpoena, ECF No. 32215.

          On May 30, 2024, the Plaintiffs’ Steering Committee (“PSC”) filed a motion

    to quash the subpoenas and/or for protective order, ECF No. 32483, and Defendants

    opposed the motion. ECF No. 32827. Non-partys Beasley Allen and the Smith Law

    Firm filed Motions to Quash and/or for Protective Order Over Subpoenas Directed

    to the two law firms ECF Nos. 32445, 32603. The Court referred the motions to the

    Special Master (“SM”) and a hearing was held on July 1. See Tr. of July 1, 2024

    Hr’g, ECF No. 32883. On July 9, the Special Master issued Special Master Order

    No. 25 (the “Order”) granting all three motions and quashing the subpoenas. ECF

    No. 32926. Defendants filed its objection to that Order on July 21. ECF No. 32987.

    The PSC now file its response in opposition to the Defendants’ objection because,

    as explained below, the SM properly determined that the subpoenas exceeded the


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    permissible scope of discovery by requesting irrelevant information that is

    disproportionate to the needs of this case and requires the disclosure of privileged

    matters.

                                   LEGAL STANDARD
          Pursuant to the Appointment Order, the Special Master has been delegated the

    authority to address all discovery disputes, including the PSC’s Motion to Quash.

    See ECF Nos. 704, 18360, 32853. The Special Master must proceed with reasonable

    diligence to resolve all discovery disputes, and issue an order for the Court to accept,

    modify, or reject. See ECF Nos. 704; see also Fed. R. Civ. P. 53. If a party objects

    to the order, it is only viewed as a recommendation to the Court. See ECF Nos. 704.

    The Court reviews the Special Master’s findings of fact and conclusions of law de

    novo. See ECF No. 704; see also Fed. R. Civ. P. 53(f)(3). Here, the Special Master

    had the benefit of extensive briefing, an extensive factual record, and oral argument

    to consider in ruling on this dispute. He cited the record in issuing his decision and

    issued a thoughtful and legally correct opinion. The Special Master’s determination

    was correct and should not be overruled or disturbed even upon a de novo review.

                                        ARGUMENT

    I.    The Subpoenas Exceeded the Scope of Permissible Discovery
          Federal Rule of Civil Procedure 26(b) permits parties to “obtain discovery

    regarding any nonprivileged matter that is relevant to any party’s claim or defense

    and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). A non-party

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 subpoena authorized by Federal Rule of Civil Procedure 45 “must fall within the

 scope of discovery permissible under Rule 26(b).” Gov’t Emps. Ins. Co. v. Trnovski,

 2018 WL 5281424, at *2 (D.N.J. Oct. 23, 2018) (citing OMS Invs., Inc. v. Lebanon

 Seaboard Corp., 2008 WL 4952445 (D.N.J. Nov. 18, 2008)). If a non-party

 subpoena exceeds the bounds of permissible discovery, the court may issue a

 protective order, modify the subpoena, or quash the subpoena entirely. See Fed. R.

 Civ. P. 26(c) (“The court may, for good cause, issue an order to protect a party or

 person from annoyance, embarrassment, oppression, or undue burden or expense.”);

 Fed. R. Civ. P. 45(d)(3)(A) (providing four circumstances in which quashing or

 modifying a subpoena is required); Fed. R. Civ. P. 45(d)(3)(B) (setting forth two

 instances in which quashing or modifying a subpoena is permitted).

       The Beasley Allen, Smith Law, and Ellington subpoenas far exceed the scope

 of permissible discovery under Rule 26(b), as they seek information that is neither

 relevant nor proportional to the needs of this case. See Gross-Quatrone v. Mizdol,

 2021 WL 9978409, at *2 (D.N.J. Mar. 1, 2021) (“First, the subpoenaing party must

 demonstrate that the information sought is relevant to any party’s claim or defense

 and proportional to the needs of the case under Rule 26(b)(1).” (citation omitted));

 Trnovski, 2018 WL 5281424, at *2; Ramos, 2023 WL 2327208, at *3 n.3.


       A.    The discovery sought is irrelevant to the claims and defenses in this
             MDL.



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       Defendants’ subpoenas seek third-party litigation financing that is not relevant

 to the claims and defenses in this MDL. See Order at 7 (“Indeed, the requests have

 nothing to do with the core of the case which is whether defendants’ talc products

 contained asbestos and if the products caused plaintiffs’ cancer.”). The consensus

 among courts is that such information is irrelevant and therefore not discoverable.

 In re Valsartan N-Nitrosodimethylamine (NDMA) Contamination Prods. Liab.

 Litig., 405 F. Supp. 3d 612, 615 (D.N.J. 2019) (“The Court agrees with the plethora

 of authority that holds that discovery directed to a plaintiff's litigation funding is

 irrelevant.”) (citing cases)). Courts only find discovery appropriate upon a “sufficient

 showing” that “something untoward occurred” to render litigation financing

 relevant. Id. at 615. This requires “some objective evidence” that the requesting

 party’s “theories of relevance are more than just theories.” VHT, Inc. v. Zillow Grp.,

 Inc., Case No. C15-1096JLR, 2016 WL 7077235, at *1, 2 (W.D. Wash. Sept. 8,

 2016). “For example, discovery will be ordered where there is a sufficient showing

 that a non-party is making ultimate litigation or settlement decisions, the interests of

 plaintiffs or the class are sacrificed or not being protected, or conflicts of interest

 exist.” In re Valsartan, 405 F. Supp. 3d at 615. “Mere speculation by the party

 seeking this discovery will not suffice.” V5 Techs. v. Switch, Ltd., 334 F.R.D. 306,

 312 (D. Nev. 2019).

       Defendants do not present “objective evidence” of something untoward.


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 Instead, their speculative argument is that because Smith Law previously had a

 financing arrangement with Fortress Investment Group LLC (“Fortress”), allegedly

 entered into an arrangement with Ellington Management Group (“Ellington”)

 thereafter, and such arrangements were never disclosed by Smith Law, then the law

 firm must be purposefully concealing the arrangements and acting under the control

 of the financers in making litigation strategy and settlement decisions. Def.’s Letter

 Br., ECF No. 32200 at 4–5. This manufactured theory of relevance is purely

 speculative. Defendants present no evidence that Fortress, Ellington, or any other

 third-party funder are controlling decisions in this MDL. Even more, Defendants

 present no evidence that Smith Law’s arrangements with Fortress or Ellington are

 funding cases pending in this MDL at all, and the declaration of David Meisels, the

 Managing Director and Head of Litigation for Fortress, does not indicate so. See

 Def.’s Letter Br., Ex. A, ECF No. 32213 at 4–5; see Order at 10-11 (“[N]o competent

 evidence has been produced to support the assertion . . . that Smith currently has any

 financing arrangement regarding this talc litigation.”). Notably, Smith Law has

 never appeared in this MDL.        Defendants therefore are attempting to tie an

 arrangement that Smith Law may have to this MDL and Beasley Allen, where there

 is no showing that Smith Law has an involvement in this MDL.

       Nor do defendants explain how the financial arrangement of one of Beasley

 Allen’s several hundred co-counsel relationships has any bearing on Beasley Allen


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 or its representation in this MDL. See Beasley Allen Resp. Letter Br., Ex. 3, ECF

 No. 32251-3 at 11 (Andy Birchfield, when asked about the number of Beasley

 Allen’s co-counsel relationships, responding that “hundreds would be my best. . .

 estimate.”); see also Order at 11 (“The fact that Smith may have partnered with

 Beasley Allen in the past on talc litigation is not competent evidence that the firm’s

 financing impacts Beasley Allen’s settlement position in this litigation.”). That’s

 because they cannot. Andy Birchfield previously testified that Beasley Allen has not

 used litigation funding for talc cases before this Court, see Hr’g Tr. on Def.’s Mot.

 to Disqualify, ECF No. 32153 at 60–62, and while being deposed during the LTL-2

 bankruptcy proceeding, which defendants conveniently left out of the exhibit

 accompanying their letter to this Court. See Beasley Allen Resp. Letter Br., Ex. 3,

 ECF No. 32251-3 at 11–13 (Andy Birchfield stating: “there was the allegation made

 that Beasley Allen is so heavily indebted that we could not accept the proposal, and

 . . . that is categorically false. We have not. We have not obtained litigation financing

 or funding for our talc claims.”); see also Order at 10 (“Getting to the crux of the

 issue, the short answer as to why no good cause exists to grant defendants’ request

 for litigation finance discovery is that Beasley Allen, via Birchfield’s testimony has

 already attested to the fact that Beasley Allen has no such litigation funding for this

 MDL.”). Further, David Meisels’ declaration indicates that Fortress has never

 provided funding to Beasley Allen. See Def.’s Letter Br., Ex. A, ECF No. 32213 at


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 4. Because defendants merely raise “a parade of horribles that could or may arise

 from litigation funding agreements” and present “no nonspeculative basis for their

 discovery request,” it should be denied. In re Valsartan, 405 F. Supp. 3d at 615–16.

        Despite defendants’ insistence, Local Rule 7.1.1 is not dispositive of the

 relevance of their expansive requests. The Rule requires disclosure of the identity of

 funders, whether the funder’s approval is necessary for settlement decisions, and the

 nature of the funder’s financial interest when third-party litigation funding exists.1

 See L.R. 7.1.1(a). The Rule contemplates “additional discovery of the terms of any

 such agreement” only upon a showing of good cause that (1) “the non-party has

 authority to make material litigation decisions or settlement decisions, the interests

 of parties or the class (if applicable) are not being promoted or protected, or conflicts

 of interest exist, or” (2) “such other disclosure is necessary to any issue in the case.”

 L.R. 7.1.1(b). Further, whether funding exists or not, the Rule does not sanction

 discovery of communications between plaintiffs’ counsel and non-parties

 concerning settlement authority, prior settlement offers, and defendants’ proposed

 plan of reorganization in a separate bankruptcy proceeding.

        Like the cases preceding it, Rule 7.1.1 recognizes that because this


  1
    As explained above, Andy Birchfield previously testified that Beasley Allen has not used
  litigation funding for any talc cases before this Court, see Hr’g Tr. on Def.’s Mot. to Disqualify,
  ECF No. 32153 at 60–62, and while being deposed during the LTL-2 bankruptcy proceeding. See
  Beasley Allen Resp. Letter Br., Ex. 3, ECF No. 32251-3 at 11–13.



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 information is generally irrelevant, disproportionate, and undiscoverable, there must

 be a sufficient showing of good cause that the discovery is appropriate in a particular

 case. See, e.g., In re Valsartan, 405 F. Supp. 3d at 615 (explaining that “rather than

 directing carte-blanche discovery of plaintiffs’ litigation funding, the Court will

 Order the discovery only if good cause exists to show the discovery is relevant to

 claims and defenses in the case.”); Kaplan v. S.A.C. Cap. Advisors, L.P., S.A.C.,

 2015 WL 5730101, at *5 (S.D.N.Y. Sept. 10, 2015), aff’d, 141 F. Supp. 3d 246

 (S.D.N.Y. 2015) (denying litigation funding discovery because “defendants did not

 show that the requested documents are relevant to any party’s claim or defense.”);

 Space Data Corp. v. Google LLC, 2018 WL 3054797, at *1 (N.D. Cal. June 11,

 2018) (deciding that the court was “not persuaded” that the litigation funding

 discovery sought was “relevant to any party’s claim.”); MLC Intel. Prop. LLC v.

 Micron Tech., Inc., 2019 WL 118595, at *2 (N.D. Cal. Jan. 7, 2019) (concluding

 that the defendant was “not entitled” to litigation funding discovery “because it is

 not relevant.”). Defendants do not proffer objective evidence, and their speculation

 and unsupported accusations do not establish good cause.

       Rather than articulating credible theories of relevance, Defendants try to

 justify this impermissible discovery by accusing plaintiffs’ counsel of committing

 ethical violations. See Def.’s Letter Br., ECF No. 32200 at 3–5. Defendants base

 these serious accusations on speculation and a contrived interpretation of statements


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 that were improperly solicited from a represented individual (“DD”) by defendants’

 counsel, Jim Murdica. See Def.’s Letter Br., Exs. A, C, D, ECF Nos. 32200-2,

 32200-4, 32200-5. Specifically, on May 14, 2024, Beasley Allen client DD sent an

 email to Beasley Allen, J&J’s outside counsel, and LLT’s in-house counsel, copying

 a reporter from Thomson Reuters. See id. That email asked for “the exact date

 [defendants] plan to issue paperwork for the 3rd bankruptcy.” Id. Despite Beasley

 Allen attorney Elizabeth Achtemeier removing DD and the reporter from the email

 chain and instructing Mr. Murdica to “please disregard [DD’s] attorney-client

 communication,” Mr. Murdica “added back the original recipients,” including DD,

 accused Beasley Allen of “seeking to enter into a surreptitious relationship to thwart

 a bankruptcy resolution . . . by publishing misleading and deceptive advertising,”

 and asked DD to “confirm that they are in a privileged attorney-client relationship

 with Beasley Allen.” Id. DD responded, in part, that she previously inquired about

 settlement, and her attorney advised, “Johnson & Johnson is not willing to settle

 your case at this time” and “to date, J&J has been unwilling to settle.” Id.

       Indeed, this ambiguous email lacks any context or indication as to when and

 under what circumstances the representation was made. See Order at 13. Yet,

 defendants ask the Court to infer that this conversation confirms Beasley Allen

 furnished “false and misleading information” to talc claimants concerning the

 proposed plan, intends to “further flood talc ovarian cancer claimants with an anti-


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 vote campaign,” failed to convey prior resolution offers to its clients, and advocates

 “for positions directly contrary to the interests of talc ovarian cancer claimants.”

 Def.’s Letter Br., ECF No. 32200 at 1. Such inferences are unreasonable and not

 supported by the email exchange.2 See Order at 13-14 (holding that these emails are

 not “objective evidence” of such a scheme). Defendants’ conjecture does not suffice

 to bring its requests within the realm of permissible discovery. See McVicker v. King,

 266 F.R.D. 92, 97 (W.D. Pa. 2010) (denying discovery of media communications

 based upon speculation). Defendants do no more than attempt to bootstrap this

 ambiguous situation as a reason why far-searching litigating funding discovery is

 appropriate here. The argument fails.

        Similarly, the subpoenas also broadly request all communications between

 Beasley Allen and any non-party, Smith Law and any non-party, and Ellington and

 any law firm regarding defendants’ most recently proposed plan of reorganization

 and the solicitation of claimants for the same. See Beasley Allen Subpoena, ECF No.




 2
  The only ethical violation reflected by the series of emails was committed by defendants’ counsel,
 not by Beasley Allen. See New Jersey Rule of Professional Conduct 4.2 (providing that “a lawyer
 shall not communicate about the subject of the representation with a person the lawyer knows, or
 by the exercise of reasonable diligence should know, to be represented by another lawyer in the
 matter.”); ABA Model Rule of Professional Conduct 4.2 (also providing that “a lawyer shall not
 communicate about the subject of the representation with a person the lawyer knows to be
 represented by another lawyer in the matter.”); ABA Model Rule of Professional Conduct 4.2 cmt.
 3 (clarifying that Rule 4.2 “applies even though the represented person initiates or consents to the
 communication” and that “[a] lawyer must immediately terminate communication with a person
 if, after commencing communication, the lawyer learns that the person is one with whom
 communication is not permitted by” Rule 4.2.).

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 32201 at 15; Smith Law Subpoena, ECF No. 32226 at 15; Ellington Subpoena, ECF

 No. 32215 at 13. Defendants do not and cannot show that this information is relevant

 to any claim or defense in this MDL. In fact, they concede this information is

 pertinent to “the success of the plan”—a proposed plan of reorganization to be filed

 in a future bankruptcy proceeding that defendants have yet to commence —and

 admittedly seek to investigate their unfounded suspicions that Beasley Allen intends

 “to disseminate a misinformation campaign” to “bias the vote” and “derail” the plan.

 Def.’s Letter Br., ECF No. 32200 at 1, 5–6. This information is simply irrelevant to

 this MDL since it “will not be tried before any jury in these proceedings.” In re

 Johnson & Johnson Talcum Powder Prods. Mktg., Sales Pracs., and Prods. Liab.

 Litig., 2024 WL 1914760, at *2 (April 5, 2024).

        The subpoenas further command the production of documents, agreements,

  and communications concerning Beasley Allen’s and Smith Law’s settlement

  authority and communications with any non-party regarding prior settlement offers

  from defendants, as well as all communications between Ellington and any law firm

  related to defendants’ proposed resolutions from 2020 to the present. See Beasley

  Allen Subpoena, ECF No. 32201 at 15; Smith Law Subpoena, ECF No. 32226 at 15;

  Ellington Subpoena, ECF No. 32215 at 13. This information is also irrelevant to the

  claims and defenses in this case as it “has nothing to do with whether exposure to

  J&J’s baby powder caused plaintiffs’ ovarian cancer which is the heart of the case.”


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  In re Johnson & Johnson Talcum Powder Prods. Mktg., Sales Pracs., and Prods.

  Liab. Litig., 2024 WL 1914760 at *2; see also Order at 15 (“[T]he requested

  documents are irrelevant to any claim or defense in the case.”)

       B.    The discovery sought is not proportional to the needs of this MDL.
        Even if the requested information was marginally relevant, the requests still

  exceed the permissible bounds of discovery because they are not “proportional to

  the needs of the case.” Fed. R. Civ. P. 26(b)(1). The subpoena vaguely seeks all

  documents, communications, and agreements related to litigation funding and

  authority to settle claims or otherwise resolve the litigation, as well as all

  communications between the subpoenaed parties, including their directors, officers,

  employees, and agents, and any non-party regarding defendants’ most recent

  bankruptcy proposal and prior settlement offers. These requests are facially

  overbroad and flout the requirement that discovery be proportional to the needs of

  the case. See Seven Z Enters., Inc. v. Giant Eagle, Inc., 2020 WL 7240365, at *3

  (W.D. Pa. Mar. 6, 2020) (“The sheer scope of the subpoenas speaks to [the document

  requests’] disproportionality.”). “While the scope of discovery is broad, it is not

  unlimited . . . and should not serve as a fishing expedition.” Hashem v. Hunterdon

  Cnty., 2017 WL 2215122, at *2 (D.N.J. May 18, 2017).

 II.   The Subpoenas Require Disclosure of Privileged Matters

       In addition to the grounds detailed above, which alone are sufficient for the



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 affirming the entry of the protective order,3 the subpoenas should also be quashed

 because they seek disclosure of privileged documents and communications, which

 plaintiffs have an interest in protecting. See Fulton v. Foley, 2019 WL 6609298, at

 *1 (N.D. Ill. Dec. 5, 2019) (finding standing to quash based on plaintiff’s “legitimate

 interest in” the disclosure of attorney work product material). The PSC is tasked with

 representing the interests of all plaintiffs in the MDL. As such, the PSC has standing

 to protect the rights and interests of all plaintiffs with cases filed in the MDL.

        A.     The communications requested implicate the attorney-client
               privilege, community of interest privilege, mediation privilege, and
               work product doctrine.

        The requests for all documents, communications, and agreements related to

 counsel’s authority to settle claims or resolve the litigation plainly seek information

 protected by the attorney-client privilege. See Hinsinger v. Conifer Ins. Co., 2024

 WL 866529, at *7 (D.N.J. Feb. 29, 2024) (citation omitted) (“The attorney-client

 privilege applies to communications by a client, made in confidence, for the purpose

 of seeking legal advice from an attorney who is acting in his or her capacity as an

 attorney.”); Hedden v. Kean Univ., 434 N.J. Super. 1, 82 A.3d 238, 245 (N.J. Super.

 Ct. App. Div. 2013) (“[T]here is a presumption that a communication made in the

 lawyer-client relationship has been made in professional confidence…. If the


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  See Order at 11 n.7 (“Given the finding that defendants’ subpoenas request irrelevant discovery,
 there is no need to address the argument that the subpoenas request privileged or disproportional
 discovery.”).

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 purpose was to solicit legal advice, then the privilege applies.”); Times of Trenton

 Pub. Corp. v. Pub. Util. Serv. Corp., 2005 WL 1038956, at *6 (D.N.J. May 3, 2005)

 (holding that the attorney-client privilege and the work-product doctrine protected

 communications between client and attorney concerning settlement offers.).

       The requests for all communications with any non-party regarding

 defendants’ bankruptcy proposal and prior settlement offers require disclosure of

 protected attorney work product. See Fed. R. Civ. P. 26(b)(3) (“a party may not

 discover documents and tangible things that are prepared in anticipation of litigation

 or for trial by or for another party or its representative (including the other party’s

 attorney, consultant, surety, indemnitor, insurer, or agent).”). This protection is not

 necessarily waived by disclosure to a third party if that party is not an adversary. See

 Cooper Health Sys. v. Virtua Health, Inc., 259 F.R.D. 208, 213 (D.N.J. 2009) (citing

 Maldonado v. New Jersey ex. rel. Admin. Off. of Cts. Prob. Div., 225 F.R.D. 120,

 131 (D.N.J. 2004)) (“The essential question with respect to waiver of work product

 is whether the material has been kept away from adversaries.”); Westinghouse Elec.

 Corp. v. Republic of Philippines, 951 F.2d 1414, 1428 (3d Cir. 1991) (“Because the

 work-product doctrine serves . . . to protect an attorney’s work product from falling

 into the hands of an adversary, a disclosure to a third party does not necessarily

 waive the protection of the work-product doctrine.”). Accordingly, a host of

 protected   material    falls   within   these    unrestricted   requests,   including


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 communications with experts, agents, consultants, other plaintiffs’ counsel, and

 mediators, to name a few.

       Communications with other plaintiffs’ counsel are also shielded by the

 community of interest privilege, see In re Teleglobe Commc’ns Corp., 493 F.3d 345,

 364 (3d Cir. 2007) (explaining that the community of interest privilege “allows

 attorneys representing different clients with similar legal interests to share

 information without having to disclose it to others.”), and communications with

 mediators are also covered by the mediation privilege. See Napolitano v. Corbishley,

 2021 WL 3486901, at *2 (D.N.J. Aug. 9, 2021) (citing Kernaham v. Home Warranty

 Adm’r of Fla., Inc., 236 N.J. 301 (2019) (the mediation privilege covers “any

 statement, whether verbal or nonverbal . . . made for purposes of considering,

 conducting, participating in, initiating, continuing, or reconvening a mediation or

 retaining a mediator.”).

       B.     The litigation financing information requested is protected by the
              work product doctrine and intrudes upon the attorney-client
              privilege.

       Litigation financing documents and communications are shielded by the work

 product doctrine. See, e.g., Lambeth Magnetic Structures LLC v. Seagate Tech. (US)

 Holdings Inc., 2018 WL 466045, at *6 (W.D. Pa. Jan. 18, 2018) (denying discovery

 of communications between plaintiff and litigation funders and funding agreements

 in patent infringement actions as “shielded under work product protection.”);


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 Ioengine, LLC v. Interactive Media Corp., 1:14-cv-01571-GMS, slip op. at 2 (D.

 Del. Aug. 3, 2016) (denying motion to compel production of documents plaintiff

 disclosed to prospective litigation funders as protected work product); Securitypoint

 Holdings, Inc. v. United States, 2019 WL 1751194, at *5 (Fed. Cl. Apr. 16, 2019)

 (“Litigation funding agreements are often considered by the federal courts to be

 protected by the work product doctrine or as otherwise irrelevant to the issues at

 hand.”); Viamedia, Inc. v. Comcast Corp., 2017 WL 2834535, at *1 (N.D. Ill. June

 30, 2017) (district court in patent infringement action denied defendant’s request for

 documents plaintiff disclosed to prospective litigation financing firms as “protected

 by the work-product doctrine.”).

       And because such information is neither relevant nor proportional to the needs

 of the case, defendants cannot demonstrate the “substantial need” required to

 overcome the work product doctrine. See, e.g., Preservation Techs. LLC v.

 MindGeek USA, Inc., 2020 WL 10965161, at *6-7 (C.D. Cal. Dec. 18, 2020) (finding

 litigation funding documents not discoverable because the work product doctrine

 “shields those documents from discovery” and the defendant did not show a

 substantial need to access the documents); U.S. v. Homeward Residential, Inc., 2016

 WL 1031154, at *6 (E.D. Tex. Mar. 15, 2016) (denying disclosure of funding

 agreements and plaintiff’s communications with funders as “protected by the work

 product doctrine” and because defendants did not demonstrate a “substantial need”


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 for the information).

        Such information is further protected by “the common interest exception and

 the agency exception” to waiver of the attorney-client privilege. In re Int’l Oil

 Trading Co., LLC, 548 B.R. 825, 832, 836 (S.D. Fla. Bankr. 2016) (holding that all

 communications between the judgment creditor and funder were “protected by both

 the common interest exception and the agency exception” to waiver of the attorney-

 client privilege and work product protection, and there was no showing of

 “substantial need”); Devon IT, Inc. v. IBM Corp., 2012 WL 4748160, at *1 n.1 (E.D.

 Pa. Sept. 27, 2012) (quashing third-party subpoena directed at a litigation funder

 because the documents were “protected from disclosure as work-product,” and

 production “would intrude upon attorney-client privilege under the ‘common-

 interest’ doctrine.”).

 III.   The Subpoenas are Unduly Burdensome, Oppressive, and Harassing

        Finally, the subpoenas are also unduly burdensome, oppressive, and

 harassing. A subpoena is considered unduly burdensome when it “is unreasonable or

 oppressive.” DIRECTV, Inc. v. Richards, 2005 WL 1514187, at *1 (D.N.J. June 27,

 2005) (citing Northrop Corp. v. McDonnell Douglas Corp., 751 F.2d 395, 403 (D.C.

 Cir. 1984)). Courts consider “the following factors in evaluating the reasonableness

 of a subpoena: (1) the party’s need for the production; (2) the nature and importance

 of the litigation; (3) relevance; (4) the breadth of the request for the production; (5)


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 the time period covered by the request; (6) the particularity with which the

 documents are described; and (7) the burden imposed on the subpoenaed entity.”

 Schmulovich, 2007 WL 2362598 at *4.

       Defendants’ requests are overly broad and not described with particularity,

 and because the discovery sought is neither relevant to this MDL nor proportional

 to the needs of the case, defendants cannot show a need for the productions or that

 the productions will advance the litigation. Ultimately, it is unreasonable to require

 plaintiffs’ counsel to exert time, effort, and expense in locating, reviewing, and

 producing irrelevant, privileged documents, to the degree they even exist, instead of

 prosecuting plaintiffs’ claims. Plaintiffs’ counsel here are focusing on litigating the

 issues of the case, and should not be distracted to engage in the rabbit hole pursuits

 that defendants desire plaintiff’s counsel to be embroiled in.

                                   CONCLUSION

       For the foregoing reasons, the Court should uphold the Special Master’s Order

 quashing the subpoenas directed at non-parties Beasley Allen Law Firm, Smith Law

 Firm, and Ellington Management Group.




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 Dated: August 5, 2024              Respectfully submitted,

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                          CERTIFICATE OF SERVICE

       I hereby certify that on August 5, 2024, I electronically filed the foregoing

 document with the Clerk of the Court using the CM/ECF system which will send

 notification of such filing to the CM/ECF participants registered to receive services

 in this MDL.

                                               Respectfully submitted,

                                               /s/ P. Leigh O’Dell
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